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              30(b)(6) Taser International - July 24, 2017
                              Michael Gish

               IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS
                        (HOUSTON DIVISION)


                                     )
    KAREN TAYLOR,                    )
                                     )
            Plaintiff,               )
                                     )             Case No.
    vs.                              )             4:17-cv-00673-GHM
                                     )
    TASER INTERNATIONAL, INC.,       )
                                     )
            Defendant.               )
    _________________________________)




                 VIDEOTAPED 30(b)(6) DEPOSITION OF
                     TASER INTERNATIONAL, INC.
                          BY MICHAEL GISH




                           Carefree, Arizona
                               July 24, 2017




                                        Prepared by:

                                        Gerard T. Coash, RPR, RMR
                                        Certified Reporter
                                        Certification No. 50503

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    1     the surrogate.
    2     BY MR. VICKERY:

    3           Q.     Do you do swine testing on the effect on the

    4     muscles of the pigs?

    5           A.     Yes.

    6           Q.     And on the cardiac rhythms, of course?

    7           A.     Of course.

    8           Q.     So you're looking at both the safety from a

    9     cardiac standpoint and the efficacy in terms of

   10     incapacitating the muscles, true?

   11           A.     That is correct.

   12           Q.     Because the goal, in terms of protecting a police

   13     officer, is to have a weapon that will control the subject
   14     or suspect through neuromuscular incapacitation rather

   15     than resorting to psychological factors or pain, isn't it?

           16                         MS. NGUYEN:     Object to form and foundation.
   17                         THE WITNESS:     That is correct.

   18     BY MR. VICKERY:

   19           Q.     Okay.   Now, last year you were quoted publicly as

   20     saying the -- your new consumer weapon, the TASER pulse,

   21     has the same stopping power as the commercial.                 And we're

   22     not going to talk a lot about the pulse, but I want to
   23     know what you meant when you used the word "stopping

   24     power."

   25                         MS. NGUYEN:     Object to form and foundation.

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    1                         THE WITNESS:     It uses the same circuit, in
    2     principle, as the X2 circuit.

    3     BY MR. VICKERY:

    4           Q.     So is it rated at 63 microcoulombs, plus or

    5     minus 9?

    6           A.     It is not.

    7           Q.     What's it -- what's it out- -- or charge output?

    8           A.     I think it's about 90 microcoulombs.

    9           Q.     90?

   10           A.     90, I think.

   11           Q.     Okay.   So actually higher than the X2?

   12                         MS. NGUYEN:     Object to form and foundation.

           13     BY MR. VICKERY:
   14           Q.     Is that true?

   15           A.     Yes.

   16           Q.     How does that same waveform or circuit produce a
   17     higher charge output?

   18           A.     We update the firm wear.         And the circuit is

   19     slightly different.         But fundamentally, it's the same

   20     circuit.

   21           Q.     Is it the Oslo circuit?

   22           A.     Fundamentally, yes.
   23           Q.     And when you -- when you developed the Oslo

   24     circuit to incorporate and weaponize into the X2, did you

   25     test it on swine?

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11:02:23    1     state your question again.

11:02:24    2     BY MR. VICKERY:

11:02:24    3           Q.     Well, let's take both parts of it.

11:02:26    4                        The -- both the X26 and the M26 have proven

11:02:32    5     effective at inca- -- incapacitating even the most

11:02:36    6     aggressive subjects, haven't they?

11:02:39    7           A.     According --

11:02:39    8                        MS. NGUYEN:      Object to form and foundation.

11:02:40    9                        THE WITNESS:      According to this -- according

11:02:42   10     to this, it says right there.
11:02:44   11     BY MR. VICKERY:

11:02:44   12           Q.     I know.

11:02:44   13                        And I'm asking you, according to your
11:02:46   14     experience with the company, that's certainly true, isn't

11:02:48   15     it?

11:02:49   16                        MS. NGUYEN:      Object to form and foundation.
11:02:52   17                        This is not a topic for which this witness

11:02:55   18     has been designated.

11:02:56   19                        If you know.

11:03:14   20                        THE WITNESS:      Yes, I believe that to be

11:03:15   21     true.

11:03:15   22     BY MR. VICKERY:

11:03:16   23           Q.     And it's been the consistent position of your

11:03:20   24     company for many, many years that neither of those

11:03:23   25     devices, the M26 or the X26, posed any appreciable risk of

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11:03:29    1     cardiac safety to the suspect, hasn't it?

11:03:31    2                        MS. NGUYEN:      Object to form and foundation.

11:03:32    3     That's completely irrelevant.             And he's not designated on

11:03:34    4     that topic.

11:03:35    5                        You don't have to answer.

11:03:37    6                        THE WITNESS:      I'm not --

11:03:37    7                        MS. NGUYEN:      You don't have to answer.

11:03:41    8                        THE WITNESS:      Okay.

            9     BY MR. VICKERY:

11:03:45   10           Q.     Tell me something, Mr. Gish.          Does it make any
11:03:50   11     sense to you whatsoever that we should be arming

11:03:56   12     housewives with more powerful weapons than police

11:03:59   13     officers?
11:03:59   14                        MS. NGUYEN:      Object to form and foundation.

11:03:59   15                        You don't have to answer that question.

11:04:01   16                        MR. VICKERY:      He doesn't have to answer that
11:04:03   17     question?

11:04:04   18                        MS. NGUYEN:      No.   You're asking opinion

11:04:06   19     information at this point.           And he has not been

11:04:08   20     designated -- it doesn't fall within any of the topics

11:04:10   21     that he's been designated.           That's improper questioning.

11:04:13   22                        MR. VICKERY:      Thank you for coming.

11:04:36   23                        I have no further questions for this man

11:04:38   24     today.

11:04:41   25                        MS. NGUYEN:      I don't have any follow-up.

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 1     STATE OF ARIZONA           )
 2     COUNTY OF MARICOPA         )

 3                        BE IT KNOWN the foregoing deposition was

 4     taken by me pursuant to stipulation of counsel; that I was

 5     then and there a Certified Reporter of the State of

 6     Arizona, and by virtue thereof authorized to administer an

 7     oath; that the witness before testifying was duly sworn by

 8     me to testify to the whole truth; notice was provided that

 9     the transcript was available for signature by the

10     deponent; that the questions propounded by counsel and the

11     answers of the witness thereto were taken down by me in

12     shorthand and thereafter transcribed into typewriting

13     under my direction; that the foregoing pages are a full,
14     true, and accurate transcript of all proceedings and

15     testimony had and adduced upon the taking of said

16     deposition, all to the best of my skill and ability.
17               I FURTHER CERTIFY that I am in no way related to

18     nor employed by any parties hereto nor am I in any way

19     interested in the outcome hereof.

20               DATED at Phoenix, Arizona, this 31st day of July,

21     2017.

22
23                                      _______________________________
                                        Gerard T. Coash, RMR
24                                      Certified Reporter #50503

25

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